                UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     ASHEVILLE DIVISION


                            )
SANDRA M. PETERS, on behalf of
                            )
herself and all others similarly
                            )
situated,                   )     Case No. 1:15-cv-00109-MR
                            )
              Plaintiff,    )
  v.                        )
                            ) JOINT NOTICE OF SETTLEMENT
AETNA INC., AETNA LIFE      ) IN PRINCIPLE AND REQUEST TO
INSURANCE COMPANY, and      ) SUSPEND PRE-TRIAL DEADLINES
OPTUMHEALTH CARE SOLUTIONS, )
INC.,                       )
                            )
              Defendants.   )



      Plaintiff Sandra Peters (“Plaintiff”) and Defendants Aetna Inc. and Aetna Life

Insurance Company (“Aetna”) and OptumHealth Care Solutions (“Optum,” and

collectively “Defendants”) are pleased to report that the parties have reached

agreement on a settlement in principle to resolve the above-captioned case, and to

request that the Court suspend all current pre-trial deadlines.

      After good-faith, arms-length negotiations over the course of almost a year,

the parties have agreed on the central terms of a class settlement to resolve this long-

pending litigation. They are preparing a term sheet reflecting the main settlement

terms, and do not anticipate obstacles to execution of the term sheet.




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      Accordingly, the parties respectfully request that all deadlines in the current

schedule (Doc. 308), the November 5 docket entry setting the Final Pretrial

Conference, and the Supplemental Pretrial Order and Case Management Plan (Doc.

309) be suspended, and that the trial currently scheduled for the January 13, 2025

mixed trial term be taken off calendar.

      With the Court’s approval, the parties will now turn to memorialize the class

settlement in a written agreement. After that, Plaintiff will prepare her motion and

legal memorandum seeking preliminary approval, as well as the proposed notice to

class members and a proposed plan of allocation. In light of upcoming commitments

of Plaintiff’s counsel, including international travel in November and a trial in mid-

December, and conflicts over the upcoming holidays, the parties further request that

they be given until January 31, 2025 to negotiate and finalize the written settlement

agreement and for Plaintiff to file her motion for preliminary approval of the class

settlement.

                              Respectfully submitted,

Dated: November 6, 2024




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                        CERTIFICATE OF SERVICE

      I certify that on November 6, 2024, I caused to be filed and served a copy of

the Joint Status Report using the CM/ECF system, which will give notice to counsel

of record.



                                      /s/_Andrew N. Goldfarb____________
                                      Andrew N. Goldfarb




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